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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 1:25-cv-20210-KMM


  NIGEL FRANK DE LA TORRE PARDO,
  an Individual

                 Plaintiff,

  v.

  HARBIE CENTER CONDOMINIUM
  ASSOCIATION, INC., a Florida
  Corporation, OFRENDA FAMILIAR LLC,
  a Florida Limited Liability Company, and
  BOCAS DORAL LLC D/B/A BOCAS
  HOUSE, a Florida Limited Liability
  Company.

                 Defendant.
                                                   /

                                JOINT NOTICE OF SETTLEMENT

         Plaintiff, NIGEL FRANK DE LA TORRE PARDO, and Defendant, HARBIE CENTER

  CONDOMINIUM ASSOCIATION, INC, hereby advise the Court that the Parties have reached

  an agreement in principle to settle the instant case pending completion of certain terms of the

  Settlement Agreement. The Parties will file a Stipulation dismissing this Action with prejudice

  upon completion of certain terms of the Settlement Agreement, which they reasonably expect to

  do no later than twenty (20) days from the date of this Notice. Accordingly, the Parties, respectfully

  request that the Court vacate all currently set dates and deadlines in this case.

  Respectfully submitted this March 12, 2025.
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                                                               /s/ Anthony J. Perez
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                                                               Counsel for Plaintiff

                                                               and

                                                               /s/ Ari A. Sweetbaum
                                                               ARI A. SWEETBAUM
                                                               Fla. Bar No.: 46864
                                                               DANIELS, RODRIGUEZ, BERKELEY,
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                                                               Email: asweetbaum@drbdc-law.com
                                                               Attorneys for Defendant, Harbie Center
                                                               Condominium Association, Inc.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

  by using the CM/ECF system. I further certify a copy of the foregoing was sent by CM/ECF to

  all counsel of record on this March 12, 2025.

                                              Respectfully submitted,


                                              ANTHONY J. PEREZ LAW GROUP, PLLC
                                              Attorneys for Plaintiff
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                                              By: /s/ Anthony J. Perez____
                                                 ANTHONY J. PEREZ




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